      Case 9:11-bk-11328-PC              Doc 139 Filed 07/14/17 Entered 07/14/17 13:15:09                         Desc
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                                        UNITED STATES BANKRUPTCY COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                          Northern(Santa Barbara) DIVISION


    In re: HARPER, KENNETH A.                                  §    Case No. 9:11-BK-11328
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 03/22/2011. The
    undersigned trustee was appointed on 08/08/2012.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         109,734.00
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                       0.00
                            Administrative expenses                                10,742.49
                            Bank service fees                                       1,557.18
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $           97,434.33
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 01/08/2013 and the deadline for filing
    governmental claims was 09/19/2011. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $8,736.70. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $8,736.70, for a
    total compensation of $8,736.702. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $468.33 for total expenses
    of $468.332.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 06/15/2017                                     By: /s/ Sandra K. McBeth
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    9:11-BK-11328                                                                                                                    Trustee Name:      (007780) Sandra K. McBeth
Case Name:      HARPER, KENNETH A.                                                                                                            Date Filed (f) or Converted (c): 03/22/2011 (f)
                                                                                                                                              § 341(a) Meeting Date:     09/04/2012
For Period Ending:          06/15/2017                                                                                                        Claims Bar Date: 01/08/2013

                                                    1                                                   2                            3                          4                      5                      6

                                            Asset Description                                        Petition/               Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                          Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                                      Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                               and Other Costs)                                                       Remaining Assets

  Ref. #

    1       Bank of America Checking                                                                         450.00                              0.00                                          0.00                        FA
            703.140(b)(5)

    2       CBC Federal Credit Union Savings                                                                  40.00                              0.00                                          0.00                        FA
            703.140(b)(5)

    3       2002 Cavalier                                                                                   3,500.00                             0.00                                          0.00                        FA
            703.140(b)(5)

    4       2006 Toyota Corolla                                                                             7,500.00                        4,000.00                                           0.00                        FA
            703.140(b)(2)

    5       Interest in Sudz Coin Laundry (u)                                                                    0.00                            0.00                                   72,234.00                          FA
            Reflected in Asset No. 8, for collection of payments on account of equalizing
            payment due from ex-wife to Debtor.

    6       Misc household goods                                                                             500.00                           500.00                                           0.00                        FA

    7       IRA at TD Ameritrade                                                                            7,000.00                        7,000.00                                           0.00                        FA

    8       A/R from ex wife arising out of dissolution (u)                                            300,000.00                        280,325.00                                     22,500.00                          FA
            703.140(b)(5)

    9       Claims for sanctions and contempt versus Ms. Harper (u)                                              0.00                            0.00                                   15,000.00                          FA

    9       Assets               Totals       (Excluding unknown values)                             $318,990.00                      $291,825.00                                     $109,734.00                   $0.00




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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case No.:    9:11-BK-11328                                                                                           Trustee Name:      (007780) Sandra K. McBeth
Case Name:     HARPER, KENNETH A.                                                                                    Date Filed (f) or Converted (c): 03/22/2011 (f)
                                                                                                                     § 341(a) Meeting Date:   09/04/2012
For Period Ending:     06/15/2017                                                                                    Claims Bar Date: 01/08/2013


      Major Activities Affecting Case Closing:


                                 For period ending 3/31/17 - stipulated judgment allowing for sale of laundromat entered, broker employed along with field agent to monitor laundromat
                                 and coin count. Buyer found, subject to overbid. Non-debtor former spouse and co-owner matched bid and successfully purchased laundromat.
                                 Escrow closed and former spouse paid an additional $15k to satisfy discovery and contempt orders. Claims objections filed and final tax returns
                                 requested.


                                 For period ending 3/31/16 - Adversary proceeding commenced against former spouse for laundromat and/or right to sell entire business. Discovery
                                 disputes, sanctions ordered, and now motion for summary judgment pending. Monthly payments of $500 continue, and no tax issues currently. ETFR
                                 extended due to delay with adversary proceeding.


                                 For period ending 3/31/15: Continue to collect monthly payments from co-owner and former spouse on the laundromat. Regular monthly payments
                                 made for the most part. No offer forthcoming to resolve from the former spouse. Will need to commence lawsuit to sell or to obtain a judgment for the
                                 equalizing payment and enforce. Other than the laundromat, ex-spouse does not appear to have assets from which to pay. Seeking commercial
                                 broker. CPA employed to handle all tax return requirements, no tax issues currently. ETFR extended due to long period of collection of assets.


                                 For period ending 3/31/14:Continue to collect monthly payments from co-owner and former spouse on the laundromat. Attempts to get offer from co-
                                 owner unsuccessful. Continue to investigate the marketing of the laundromat, need business broker. CPA employed to handle all tax return
                                 requirements, no tax issues currently.

                                 For period ending 3/31/13: Case reopened due to unscheduled asset disclosed by ex-wife in divorce case. Debtor attempted to exempt, objection
                                 settled. Counsel employed to assist with exemption and sale of laundromat business and/or collection on obligation from ex-wife. Small monthly
                                 payments being made.



                                 For period ending 3/31/13
                                 1. Debtor failed to disclose receivable from ex-wife, potential value $300k for laundromat equalizing payment.
                                 2. Case reopened, asset scheduled and attempt to exempt it.
                                 3. Application to employ Will Beall as counsel filed.

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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case No.:    9:11-BK-11328                                                                                           Trustee Name:      (007780) Sandra K. McBeth
Case Name:     HARPER, KENNETH A.                                                                                    Date Filed (f) or Converted (c): 03/22/2011 (f)
                                                                                                                     § 341(a) Meeting Date:   09/04/2012
For Period Ending:     06/15/2017                                                                                    Claims Bar Date: 01/08/2013

                                 4. Objection to exemption filed.
                                 5. Objection to exemption settled allowing Debtor a $2,000 exemption, not the full wild card.
                                 6. Due to length of time to sell laundromat or collect on obligation, projected TFR lengthy.
                                 7. Notified of informal poc from M. Murphy, provided her with POC form. If POC filed after bar date (1/8/13), do not object as late.
                                 8. Debtor's counsel filed objection to claim of ex-wife, set for hearing 2/28/13. Hoping to reduce claims to resolve case short of full liquidation.
                                 9. Claims imported and reviewed. Hold claim objection for Debtor's ex-wife to file amended claim 7.
                                 10. Stipulation filed By Trustee and Debtor, Kenneth Harper to Settle Claimed Exemption
                                 For period ending 3/31/14
                                 11. Klein questionnaire to Kathy with supporting docs
                                 12. Application to Employ Kathy as CPA filed.
                                 13. Per Accountant, no returns required for 2013.
                                 For period ending 3/31/15
                                 14. Continued monthly collection. Likely no return requirement for 2014 either, due to small amount of income.
                                 15. Per discussion with counsel, action for turnover and 363 sale to be filed forthwith.
                                 For period ending 3/31/16
                                 16. Adversary commenced so either collect or sell laundromat.
                                 17. Extension on 2014 tax return. Filed.
                                 18. Correspondence from Debtor's counsel with initial offer to buy out entire laundromat interest. No judgment yet on adversary so premature.
                                 19. Reviewed claims, one objection (claim 7) necessary once adversary is resolved. Discussed with counsel.
                                 20. Adversary proceeding with discovery, dispute and motion to compel. Motion granted, all continued to February 11.
                                 21. Discovery motion/sanctions granted. Sanctions of $4160 ordered paid by Defendant (Anabella Harper). Will proceed with MSJ as court was not
                                 inclined to grant terminating sanctions.
                                 For period ending 3/31/17
                                 22. Motion for summary judgment filed in adversary, set for hearing 5/12/16.
                                 23. Application to Employ Keller Williams as Real Estate Broker filed.
                                 24. Offer to purchase laundromat received ($200k)
                                 25. Application to employ Regis Boyle as field agent filed.
                                 26. Locks changed, Regis Boyle employed as field agent to perform coin count pending close of escrow.
                                 27. Motion to Sell laundromat free and clear of liens filed
                                 28. Hearing on motion to sell - bid matched at $210k (due to breakup fee) by Annabella Harper, co-owner. Backup bid is $200k original buyer.
                                 Approved by order 1/12/17, including $105k purchase price, $15k additional due to sanctions and other costs. $20k deposit received by Trustee.
                                 29. $15k turned over by Ms. Harper shall be retained by the estate to satisfy sanctions, damages for contempt, costs, etc.
                                 30. Interim Fee Application for Regis Boyle, field agent filed.
                                 31. Objection to Claims #3, 4, 5, 7 filed.
                                 32. Withdrawal of Objection # 3 filed.
                                 33. Claim #4 & 5 withdrawn by creditor.
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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case No.:    9:11-BK-11328                                                                                           Trustee Name:      (007780) Sandra K. McBeth
Case Name:     HARPER, KENNETH A.                                                                                    Date Filed (f) or Converted (c): 03/22/2011 (f)
                                                                                                                     § 341(a) Meeting Date:   09/04/2012
For Period Ending:     06/15/2017                                                                                    Claims Bar Date: 01/08/2013

                                 34. Hearing held 5/2/17 for objection to Claim #7
                                 35. Final tax returns signed and mailed.
                                 36. Request for court costs filed. Notice to Pay Court Costs Due $350.00. Claim created.
                                 37. Notice to Professionals filed.
                                 38. Final Fee Application filed by Beall & Burkhardt. Claim created.
                                 39. Final Fee Application filed by CPA Klein. Claim created.


                                 ________________________________________________________
                                 7/25/12 - Order entered reopening case
                                 10/10/12: Order Employing Will Beall entered
                                 11/6/12: Reply to Response of Ch 7 Trustee's Objection to Claimed Exemption filed
                                 12/20/12 - Periodic review of case and update.
                                 2/28/13 - Order on Stipulation to Objection to to Settle Claimed Exemption entered
                                 3/20/13 - Periodic review of case and update.
                                 7/22/13 - Periodic review of case and update.
                                 10/18/13 - Periodic review of case and update.
                                 1/13/14 - Periodic review of case and update.
                                 3/17/14-Order employing Kathy Klein, CPA. Entered.
                                 3/17/14 - Periodic review of case and update.
                                 6/2/14 - Periodic review of case and update.
                                 10/6/14 - Periodic review of case and update.
                                 2/6/15 - Periodic review of case and update.
                                 5/15/15 - Complaint filed against former spouse for sum due and authority to sell. Periodic review of case and update. Periodic review of case and
                                 update. Periodic review of case and update.
                                 1/11/16 -Order compelling discovery. Entered. Periodic review of case and update.
                                 2/12/16 - Order on discovery motion/sanctions awarding estate $4160. Entered. Periodic review of case and update.
                                 3/24/16 - Motion for Summary Judgment filed in adversary case. Periodic review of case and update.
                                 8/4/16 - Judgment on First and Third Claims for Relief. Entered. Periodic review of case and update.
                                 9/13/16 - Order entered employing Keller Williams Realty/KW Commercial as real estate broker.
                                 10/14/16 - OSC issued vs Annabella Harper, Hearing set 11/1. Periodic review of case and update.
                                 11/28/16 - Order approving employment of Regis Boyle, field agent. Entered.
                                 1/12/17 - Order approving sale of Sudz Laundromat to co-owner, $210,000. Entered.
                                 3/20/17 - Order approving division of proceeds - $15k to be retained by the estate. Periodic review of case and update.
                                 4/28/17 - Order approving objection to claim #7 entered (claim allowed as general unsecured in the amt of $33000.00). Claim updated.
                                 5/8/17 - Final returns mailed.
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case No.:    9:11-BK-11328                                                                                   Trustee Name:      (007780) Sandra K. McBeth
Case Name:     HARPER, KENNETH A.                                                                            Date Filed (f) or Converted (c): 03/22/2011 (f)
                                                                                                             § 341(a) Meeting Date:   09/04/2012
For Period Ending:        06/15/2017                                                                         Claims Bar Date: 01/08/2013

                                   6/5/17 - Federal Tax Clearance Letter. Received.



      Initial Projected Date Of Final Report (TFR):         11/01/2015                       Current Projected Date Of Final Report (TFR):              10/16/2017


             06/15/2017                                                                       /s/Sandra K. McBeth

                Date                                                                          Sandra K. McBeth




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                                                                                                                                                                                    Exhibit B
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                                                           Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                            Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                                       Bank Name:                    The Bank of New York Mellon
Taxpayer ID #:                 **-***2131                                                               Account #:                    **********1666 Checking Account
For Period Ending:             06/15/2017                                                               Blanket Bond (per case limit): $5,000,000.00
                                                                                                        Separate Bond (if applicable): N/A



        1                 2                       3                                                 4                                        5                  6                      7

   Transaction       Check or           Paid To / Received From                 Description of Transaction            Uniform          Deposit             Disbursement        Account Balance
      Date            Ref. #                                                                                         Tran. Code          $                       $

   12/05/2012            {8}       Sudz Coin Laundry                    Payment on Sudz Coin Laundry                 1229-000                    500.00                                     500.00

   12/13/2012                      RABOBANK MIGRATION                   TRANSFER TO *********8088 20121213           9999-000                                       500.00                      0.00
                                   TRANSFER OUT

                                                                  COLUMN TOTALS                                                                   500.00             500.00                     $0.00
                                                                        Less: Bank Transfers/CDs                                                    0.00             500.00
                                                                  Subtotal                                                                        500.00                0.00
                                                                        Less: Payments to Debtors                                                                       0.00
                                                                  NET Receipts / Disbursements                                                   $500.00              $0.00




{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                                     ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                               Separate Bond (if applicable): N/A



        1                 2                        3                                       4                                        5                 6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                Tran. Code          $                      $

   12/14/2012                      RABOBANK MIGRATION             RABOBANK MIGRATION                        9999-000                    500.00                                    500.00
                                   TRANSFER IN
   12/31/2012                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                  490.00

   01/03/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                    990.00

   01/22/2013         10101        International Sureties, LTD.   BOND PREMIUM PAYMENT ON                   2300-000                                        1.21                  988.79
                                                                  LEDGER BALANCE AS OF 01/22/2013
                                                                  FOR CASE #9:11-BK-11328, Bond
                                                                  Premium No. *****0867 paid per General
                                                                  Order 00-01
   01/31/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   1,488.79

   01/31/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 1,478.79

   02/28/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 1,468.79

   03/06/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   1,968.79

   03/29/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 1,958.79

   04/04/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   2,458.79


{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
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                                                           Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                               Separate Bond (if applicable): N/A



        1                 2                       3                                        4                                        5                 6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                Tran. Code          $                      $

   04/30/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 2,448.79

   05/07/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   2,948.79

   05/31/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 2,938.79

   06/10/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   3,438.79

   06/28/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 3,428.79

   07/03/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   3,928.79

   07/31/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 3,918.79

   08/01/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   4,418.79

   08/30/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 4,408.79

   09/05/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   4,908.79

   09/30/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 4,898.79

   10/07/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   5,398.79

   10/31/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 5,388.79

{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                               Separate Bond (if applicable): N/A



        1                 2                        3                                       4                                        5                 6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                Tran. Code          $                      $

   11/05/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   5,888.79

   11/29/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 5,878.79

   12/06/2013            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   6,378.79

   12/31/2013                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 6,368.79

   01/09/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   6,868.79

   01/31/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 6,858.79

   02/05/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   7,358.79

   02/05/2014         10102        International Sureties, LTD.   BOND PREMIUM PAYMENT ON                   2300-000                                        8.22                 7,350.57
                                                                  LEDGER BALANCE AS OF 02/05/2014
                                                                  FOR CASE #9:11-BK-11328, Bond
                                                                  Premium No. *****0867 Per General
                                                                  Order 00-01.
   02/28/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.00                 7,340.57

   03/06/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   7,840.57

   03/31/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       10.73                 7,829.84

{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                               Separate Bond (if applicable): N/A



        1                 2                        3                                       4                                        5                 6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                Tran. Code          $                      $

   04/07/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   8,329.84

   04/30/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       12.53                 8,317.31

   05/06/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   8,817.31

   05/30/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       12.51                 8,804.80

   06/10/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   9,304.80

   06/30/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       12.64                 9,292.16

   07/10/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                   9,792.16

   07/10/2014         10103        International Sureties, LTD.   BOND PREMIUM PAYMENT ON                   2300-000                                        0.88                 9,791.28
                                                                  LEDGER BALANCE AS OF 07/10/2014
                                                                  FOR CASE #9:11-BK-11328, Bond
                                                                  Premium #*****0867, paid per General
                                                                  Order 00-01
   07/31/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       15.18                 9,776.10

   08/13/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                10,276.10

   08/29/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       13.95              10,262.15

{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
                                    Case 9:11-bk-11328-PC          Doc 139 Filed 07/14/17 Entered 07/14/17 13:15:09                               Desc
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                                                            Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                               Separate Bond (if applicable): N/A



        1                 2                        3                                       4                                        5                 6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                Tran. Code          $                      $

   09/05/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                10,762.15

   09/30/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       16.26              10,745.89

   10/14/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                11,245.89

   10/31/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       16.35              11,229.54

   11/18/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                11,729.54

   11/28/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       14.72              11,714.82

   12/08/2014            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                12,214.82

   12/31/2014                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       19.62              12,195.20

   01/06/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                12,695.20

   01/30/2015                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       18.09              12,677.11

   02/04/2015         10104        International Sureties, LTD.   BOND PREMIUM PAYMENT ON                   2300-000                                       27.66              12,649.45
                                                                  LEDGER BALANCE AS OF 02/04/2015
                                                                  FOR CASE #9:11-BK-11328; Bond
                                                                  Premium #*****0867, paid per General
                                                                  Order 00-01

{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                               Separate Bond (if applicable): N/A



        1                 2                        3                                       4                                        5                 6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                Tran. Code          $                      $

   02/27/2015                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       16.99              12,632.46

   03/05/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                13,132.46

   03/27/2015                      International Sureties, LTD.   Misc. Refund - received from              2300-000                                       -10.62             13,143.08
                                                                  International Surety re bond premium
                                                                  overage

   03/31/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                13,643.08

   03/31/2015                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       19.98              13,623.10

   04/30/2015                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       19.56              13,603.54

   05/19/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                14,103.54

   05/27/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                1,000.00                                  15,103.54

   05/29/2015                      Rabobank, N.A.                 Bank and Technology Services Fee          2600-000                                       19.17              15,084.37

   06/30/2015                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       23.14              15,061.23

   07/06/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                15,561.23

   07/31/2015                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       22.95              15,538.28

{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
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                                                           Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                               Separate Bond (if applicable): N/A



        1                 2                       3                                        4                                        5                 6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                Tran. Code          $                      $

   08/03/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                16,038.28

   08/31/2015                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       22.20              16,016.08

   09/02/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                16,516.08

   09/30/2015                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       25.21              16,490.87

   10/01/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                16,990.87

   10/30/2015                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       24.39              16,966.48

   11/02/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                17,466.48

   11/30/2015                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       24.18              17,442.30

   12/03/2015            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                17,942.30

   12/31/2015                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       28.24              17,914.06

   01/04/2016            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                18,414.06

   01/29/2016                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       25.41              18,388.65

   02/01/2016            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                18,888.65

{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
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Case No.:                      9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                               Separate Bond (if applicable): N/A



        1                 2                       3                                        4                                        5                 6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                Tran. Code          $                      $

   03/01/2016                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       26.09              18,862.56

   03/03/2016            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                19,362.56

   03/31/2016                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       30.41              19,332.15

   04/04/2016            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                19,832.15

   04/29/2016                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       27.37              19,804.78

   05/05/2016            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                20,304.78

   05/31/2016                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       28.00              20,276.78

   06/07/2016            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                20,776.78

   06/30/2016            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                21,276.78

   06/30/2016                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       32.54              21,244.24

   07/29/2016                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       29.43              21,214.81

   08/02/2016            {8}       Sudz Coin Laundry              Equalizing payment from former spouse     1229-000                    500.00                                21,714.81

   08/31/2016                      Rabobank, N.A.                 Bank and Technology Services Fees         2600-000                                       34.14              21,680.67

{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
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                                                           Cash Receipts And Disbursements Record

Case No.:                      9:11-BK-11328                                                     Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                     HARPER, KENNETH A.                                                Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***2131                                                        Account #:                    ******7266 Checking Account
For Period Ending:             06/15/2017                                                        Blanket Bond (per case limit): $5,000,000.00
                                                                                                 Separate Bond (if applicable): N/A



        1                 2                       3                                         4                                         5                6                      7

   Transaction       Check or           Paid To / Received From          Description of Transaction            Uniform          Deposit           Disbursement        Account Balance
      Date            Ref. #                                                                                  Tran. Code          $                     $

   09/30/2016                      Rabobank, N.A.                 Bank and Technology Services Fees           2600-000                                       31.09             21,649.58

   10/31/2016                      Rabobank, N.A.                 Bank and Technology Services Fees           2600-000                                       30.01             21,619.57

   11/03/2016         10105        PWS The Laundry Company        Locking devices for coin machines, paid     2420-000                                  2,524.93               19,094.64
                                                                  per Order entered 11/2/16
   11/30/2016                      Rabobank, N.A.                 Bank and Technology Services Fees           2600-000                                       30.54             19,064.10

   12/30/2016                      Rabobank, N.A.                 Bank and Technology Services Fees           2600-000                                       27.34             19,036.76

   01/10/2017            {5}       Martin Zaehringer              Deposit for purchase of Debtor's interest   1229-000                20,000.00                                39,036.76
                                                                  in laundromat
   01/30/2017                      Better Escrow Service          Net proceeds from sale of Sudz Laundry                              67,234.00                               106,270.76

                         {9}                                      per stip approved by order entered          1249-000                                                        106,270.76
                                                                  3/20/17 to satisfy damages, sanctions
                                                                                                $15,000.00
                         {5}                                      purchase of interest in laundromat          1229-000                                                        106,270.76
                                                                                                $52,234.00
   01/31/2017                      Rabobank, N.A.                 Bank and Technology Services Fees           2600-000                                       52.56            106,218.20

{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                                            ! - transaction has not been cleared
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                                                          Cash Receipts And Disbursements Record

Case No.:                     9:11-BK-11328                                                   Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                    HARPER, KENNETH A.                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                **-***2131                                                      Account #:                    ******7266 Checking Account
For Period Ending:            06/15/2017                                                      Blanket Bond (per case limit): $5,000,000.00
                                                                                              Separate Bond (if applicable): N/A



        1                2                       3                                        4                                        5                6                      7

   Transaction       Check or          Paid To / Received From          Description of Transaction          Uniform          Deposit          Disbursement         Account Balance
      Date            Ref. #                                                                               Tran. Code          $                    $

   02/13/2017         10106      International Sureties LTD      BOND PREMIUM PAYMENT AS OF                2300-000                                         8.66           106,209.54
                                                                 02/03/2017, BOND PREMIUM NO.
                                                                 *****0867 PER GENERAL ORDER 00-
                                                                 01
   02/28/2017                    Rabobank, N.A.                  Bank and Technology Services Fees         2600-000                                       142.59           106,066.95

   03/31/2017                    Rabobank, N.A.                  Bank and Technology Services Fees         2600-000                                       157.64           105,909.31

   04/05/2017         10107      International Sureties LTD      Bond Premium Payment as of 4/4/17,        2300-000                                        10.91           105,898.40
                                                                 Bond Premium payment No. *****0867,
                                                                 paid per General Order 00-01

   04/11/2017         10108      Regis Boyle                     Paraprofessional for Trustee Fees         3991-400                                  8,167.50               97,730.90
                                                                 (Other Firm) paid per Order entered
                                                                 4/11/17

   04/28/2017                    Rabobank, N.A.                  Bank and Technology Services Fees         2600-000                                       139.03            97,591.87

   05/02/2017         10109      International Sureties LTD      Bond Premium Payment as of 5/2/17,        2300-000                                         3.14            97,588.73
                                                                 Bond Premium payment No. *****0867,
                                                                 paid per General Order 00-01

   05/31/2017                    Rabobank, N.A.                  Bank and Technology Services Fees         2600-000                                       154.40            97,434.33


{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                                           ! - transaction has not been cleared
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                                                         Cash Receipts And Disbursements Record

Case No.:                    9:11-BK-11328                                                            Trustee Name:                 Sandra K. McBeth (007780)
Case Name:                   HARPER, KENNETH A.                                                       Bank Name:                    Rabobank, N.A.
Taxpayer ID #:               **-***2131                                                               Account #:                    ******7266 Checking Account
For Period Ending:           06/15/2017                                                               Blanket Bond (per case limit): $5,000,000.00
                                                                                                      Separate Bond (if applicable): N/A



        1                2                      3                                                 4                                        5                 6                      7

   Transaction       Check or         Paid To / Received From                 Description of Transaction            Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                       Tran. Code          $                      $

                                                                COLUMN TOTALS                                                              109,734.00         12,299.67                 $97,434.33
                                                                      Less: Bank Transfers/CDs                                                 500.00              0.00
                                                                Subtotal                                                                   109,234.00         12,299.67
                                                                      Less: Payments to Debtors                                                                    0.00
                                                                NET Receipts / Disbursements                                           $109,234.00           $12,299.67




{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                                                    ! - transaction has not been cleared
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                                                     Cash Receipts And Disbursements Record

Case No.:                  9:11-BK-11328                                              Trustee Name:                   Sandra K. McBeth (007780)
Case Name:                 HARPER, KENNETH A.                                         Bank Name:                      Rabobank, N.A.
Taxpayer ID #:             **-***2131                                                 Account #:                      ******7266 Checking Account
For Period Ending:         06/15/2017                                                 Blanket Bond (per case limit): $5,000,000.00
                                                                                      Separate Bond (if applicable): N/A




                                                             TOTAL - ALL ACCOUNTS                          NET DEPOSITS     NET DISBURSEMENTS ACCOUNT BALANCES
                                                             **********1666 Checking Account                        $500.00               $0.00            $0.00

                                                             ******7266 Checking Account                             $109,234.00               $12,299.67          $97,434.33

                                                                                                                     $109,734.00               $12,299.67         $97,434.33




                              06/15/2017                                                       /s/Sandra K. McBeth
                                 Date                                                          Sandra K. McBeth




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             ok




              Claim withdrawn




             ok (objection withdrawn)




             claim withdrawn
             claim withdrawn
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             ok




            per Order entered 4/28/17 - allowed as general unsecured claim in the amount of $33,000.00
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                                     TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                               Exhibit D


    Case No.: 9:11-BK-11328
    Case Name: KENNETH A. HARPER
    Trustee Name: Sandra K. McBeth

                                                      Balance on hand:       $                             97,434.33

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                          Claim       Allowed            Interim         Proposed
  No.                                                       Asserted       Amount           Payments           Payment
                                                                           of Claim           to Date


                                                         None


                                                   Total to be paid to secured creditors:       $                   0.00
                                                   Remaining balance:                           $              97,434.33

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                           Total            Interim         Proposed
                                                                         Requested          Payments           Payment
                                                                                              to Date

  Trustee, Fees - Sandra K. McBeth                                          8,736.70                0.00        8,736.70
  Trustee, Expenses - Sandra K. McBeth                                        468.33                0.00         468.33
  Charges, U.S. Bankruptcy Court                                              350.00                0.00         350.00
  Attorney for Trustee Fees (Other Firm) - Beall & Burkhardt APC           46,412.50                0.00       46,412.50
  Attorney for Trustee Expenses (Other Firm) - Beall & Burkhardt APC          788.77                0.00         788.77
  Accountant for Trustee Fees (Other Firm) - M. Kathleen Klein, CPA         1,215.00                0.00        1,215.00
  Accountant for Trustee Expenses (Other Firm) - M. Kathleen Klein,              58.08              0.00          58.08
  CPA
                        Total to be paid for chapter 7 administrative expenses:                 $              58,029.38
                        Remaining balance:                                                      $              39,404.95

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                     Total             Interim           Proposed
                                                                       Requested         Payments          Payment

                                                         None


                      Total to be paid for prior chapter administrative expenses:               $                   0.00
                      Remaining balance:                                                        $              39,404.95




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

             Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                                                      Total to be paid for priority claims:      $              0.00
                                                      Remaining balance:                         $         39,404.95

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $88,331.71 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 44.6 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1-1         Alliance Laundry Systems LLC                  21,976.04                     0.00              9,803.55
              c/o Dana M. Perlman, Esq.
  2-1         ALLIANCE LAUNDRY SYSTEMS                            0.00                    0.00                   0.00
              LLC
  3-2         Robinson & Associates                         14,718.92                     0.00              6,566.14
  4-3         Capital One Bank (USA), N.A.                        0.00                    0.00                   0.00
  5-3         Capital One Bank (USA), N.A.                        0.00                    0.00                   0.00
  6-1         Asset Acceptance                              18,636.75                     0.00              8,313.89
  7           Maria Leticia Murphy                          33,000.00                     0.00             14,721.37
                          Total to be paid for timely general unsecured claims:                  $         39,404.95
                          Remaining balance:                                                     $              0.00

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                          Total to be paid for tardily filed general unsecured claims:           $               0.00
                          Remaining balance:                                                     $               0.00



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          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None


                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




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